         CASE 0:21-cv-02458-SRN-DTS Doc. 14 Filed 01/17/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                Case No: 0:21-cv-02458-SRN-DTS
                                      §
vs.                                   §                PATENT CASE
                                      §
ARKRAY USA, INC.,                     §
                                      §
      Defendant.                      §
_____________________________________ §

                         PLAINTIFF’S ANSWERS AND DEFENSES TO
                             DEFENDANT’S COUNTERCLAIMS

       Now comes Plaintiff, Display Technologies, LLC (“Plaintiff,” “Counterclaim Defendant,”

or “Display”), by and through undersigned counsel, pursuant to Federal Rules of Civil Procedure

12, without admission of the legal sufficiency thereof and responding only to the factual allegations

therein, and states as follows for its Answer and Defenses to Defendant and Counter Plaintiff

ARKRAY USA, Inc.’s (“Defendant,” “Counterclaim Plaintiff,” or “ARKRAY”) Counterclaims

[Doc. 6] (hereafter the “Counterclaims”) as follows:

                                            PARTIES

       1.      Display has insufficient knowledge of the allegations contained in paragraph 1 and

therefore denies same.

       2.      Admitted.

                                         JURISDICTION

       3.      Display incorporates by reference each of its answers in paragraphs 1-2 above.

       4.      Display admits that jurisdiction is proper.

       5.      Admitted.

       6.      Display admits that venue is proper. Display denies any remaining allegations in




PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS                                Page | 1
         CASE 0:21-cv-02458-SRN-DTS Doc. 14 Filed 01/17/22 Page 2 of 3




paragraph 6.

                                           COUNT I

       7.      Display incorporates by reference each of its answers in paragraphs 1-6 above.

       8.      Display admits that an actual controversy exists concerning infringement of the

‘723 Patent. Display denies any remaining allegations contained in paragraph 8.

       9.      Denied.

       10.     Denied.

       11.     Display admits that ARKRAY seeks a declaratory judgment. Display denies any

remaining allegations contained in paragraph 11.

                                          COUNT II

       12.     Display incorporates by reference each of its answers in paragraphs 1-11 above.

       13.     Display admits that an actual controversy exists regarding validity of the ‘723

Patent. Display denies any remaining allegations contained in paragraph 13.

       14.     Denied.

       15.     Denied.

       16.     Display admits that ARKRAY seeks a declaratory judgment. Display denies any

remaining allegations contained in paragraph 16.

                                   PRAYER FOR RELIEF

       To the extent a response is required, Display denies that ARKRAY is entitled to any of the

relief requested.




PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS                            Page | 2
         CASE 0:21-cv-02458-SRN-DTS Doc. 14 Filed 01/17/22 Page 3 of 3




Dated: January 17, 2022.                    Respectfully submitted,



                                            /s/ Eric J. Strobel
                                            Eric J. Strobel, Director
                                            Strobel Consulting Services, LLC
                                            608 E. 38th Street
                                            Sioux Falls, SD 57105
                                            651.338.7044
                                            eric@strobelconsulting.net


                                            ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
January 17, 2022, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                             /s/ Eric J. Strobel
                                             Eric J. Strobel, Director




PLAINTIFF’S ANSWERS AND DEFENSES TO DEFENDANT’S COUNTERCLAIMS                           Page | 3
